Case 2:15-cv-00871-CCC-MF Document 20 Filed 07/27/15 Page 1 of 2 PageID: 399




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Attorneys for Defendant Wells Fargo Bank, N.A

                     UNITED STATES DTSTRICT COURT
                        DISTRICT OF NEW JERSEY


LORETTA THOMAS and                      Civil Action No.
FRANKLIN THOMAS,                        2: 15-cv-00871-CCC-MF

                 Plaintiffs,
                                                 Motion Returnable,
                 V                                September 8, 2015

WELLS FARGO BANK, N.4.,
ZUCKER, GOLDBERG &                        NOTICE OF DEFENDANT'S
ACKERMAN, LLC,                              MOTION TO DISMISS
                                           PLAINTIFF'S AMENDED
                 Defendants.            COMPLAINT WITH PREJUDICE


TO: Loretta Thomas
      Franklin Thomas
      279 Seaview Avenue
      Jersey City, New Jersey 07092
      Pro Se Plaintffi

      PLEASE TAKE NOTICE THAT on August , 2015, at 9:00 â.ffi., or            as


soon thereafter as counsel may be heard, counsel for Defendant Wells Fargo Bank,
Case 2:15-cv-00871-CCC-MF Document 20 Filed 07/27/15 Page 2 of 2 PageID: 400




N.A. shall move before the Honorable Claire C. Cecchi, U.S.D.J., at the Federal

District Court for the District of New Jersey located at the Martin Luther King,   Jr.

Federal Building and U.S. Courthouse, 50 Walnut Street, Newark, NJ 07101 on a

Motion to Dismiss Plaintifß' Amended Complaint with Prejudice.

      PLEASE TAKE FURTHER NOTICE that in support of this Motion,

Defendant shall rely on the attached Memorandum of Law and Certification of

Laura K. Conroy, EsQ., with exhibits submitted herewith

      PLEASE TAKE FURTHER NOTICE that a proposed form of Order

granting Defendant's Motion     to Dismiss Plaintiffs'           Amended Complaint is

enclosed herewith.

                                              REED SMITH LLP
                                              Attorneys   þr   Defendant


                                              By:   s/ Laura   K. Conrq).
                                                    Laura K, Conroy
Dated: July 27,2015




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